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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           Case No. 20-23527-Civ-WILLIAMS/TORRES


   RICHARD M. BUSH, Individually and On
   Behalf of All Others Similarly Situated,

                                Plaintiff,

   v.

   BLINK CHARGING COMPANY,
   MICHAEL D. FARKAS, and MICHAEL
   P. RAMA,

                                Defendants.


  JOINT MOTION FOR EXTENSION OF TIME TO FILE AMENDED/CONSOLIDATED
   COMPLAINT AND PROPOSED BRIEFING SCHEDULE ON MOTION TO DISMISS

         Co-Lead Plaintiffs Tianyou Wu, Alexander Wu and H. Marc Joseph and Defendants Blink

  Charging Company, Michael D. Farkas, and Michael P. Rama jointly move this Court for an Order:

  (i) extending the deadline for Co-Lead Plaintiffs to file a Consolidated or Amended Complaint;

  (ii) setting deadlines for Defendants to file a motion to dismiss, and the filing of the opposition

  and reply briefs. In support, the parties state as follows:

             1. On September 30, 2020, the Court ordered that “[w]ithin (10) days of entry of an

  order appointing a lead plaintiff and lead plaintiff’s counsel, lead plaintiff’s counsel and

  Defendants’ counsel shall confer and submit to the Court a proposed schedule that: (i) sets a

  deadline for lead plaintiff to file an amended complaint or notify Defendants and the Court in

  writing that the lead plaintiff intends to rely on the initial complaint; and (ii) for Defendants to

  respond to the operative complaint and, if a motion to dismiss is filed, deadlines for the filing of

  opposition and reply briefs.” [D.E. 18].
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             2. On December 21, 2020, the Court appointed Tianyou Wu, Alexander Wu and H.

  Marc Joseph as Co-Lead Plaintiffs and approved Pomerantz LLP and Hagens Berman Sobol

  Shapiro as Co-Lead Counsel. [D.E. 29]. Consequently, the deadline for the parties to confer and

  submit a proposed schedule is December 31, 2020.

             3. On December 22, 2020, the Court sua sponte ordered that Co-Lead Plaintiffs “shall

  file an Operative Complaint no later than January 22, 2021.” [D.E. 30].

             4. In light of their recent appointment and the holidays, Co-Lead Counsel require

  additional time to review and consolidate their firms’ two separate investigations before filing an

  operative complaint. Accordingly, Co-Lead Counsel respectfully request that the deadline be

  extended to February 19, 2021. Defendants do not oppose this request.

             5. The parties’ counsel have met and conferred and propose that the Court adopt the

  following schedule:

                     a. Co-Lead Plaintiffs shall file a consolidated and/or amended complaint no

                        later than February 19, 2021;

                     b. Defendants shall move to dismiss, answer or otherwise respond to Co-Lead

                        Plaintiffs’ consolidated and/or amended complaint no later than April 20,

                        2021;

                     c. If Defendants file a motion to dismiss, Co-Lead Plaintiffs shall file an

                        opposition no later than June 21, 2021; and

                     d. Defendants shall file a reply in support of any motion to dismiss no later

                        than July 21, 2021.
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                          LOCAL RULE 7.1(a)(3) CERTIFICATION

         In accordance with Local Rule 7.1(a)(3), counsel for Co-Lead Plaintiffs and Defendants

  certify that they have met and conferred. Defendants do not oppose the request to extend the

  deadline to file an amended and/or consolidated complaint to February 19, 2021. The parties

  jointly move for the Court to adopt the proposed schedule on the motion to dismiss.



  Dated: December 28, 2020                        Respectfully submitted,

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    SHAPIRO LLP
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   /s/ Reed R. Kathrein                             Jeremy A. Lieberman
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